
PER CURIAM.
Affirmed. See Leeman v. State, 357 So.2d 703 (Fla.1978); Hughes v. State, 22 So.3d 132 (Fla. 2d DCA 2009); Shortridge v. State, 884 So.2d 321 (Fla. 2d DCA 2004); Brown v. State, 827 So.2d 1054 (Fla. 2d DCA 2002); Mosely v. State, 688 So.2d 999 (Fla. 2d DCA 1997); Desmond v. State, 576 So.2d 743 (Fla. 2d DCA 1991); Budd v. State, 477 So.2d 52 (Fla. 2d DCA 1985); Foss v. State, 834 So.2d 404 (Fla. 5th DCA 2003); McMillan v. State, 832 So.2d 946 (Fla. 5th DCA 2002); Harris v. State, 789 So.2d 1114 (Fla. 1st DCA 2001); Hart v. State, 761 So.2d 334 (Fla. 4th DCA 1998).
KHOUZAM, MORRIS, and SLEET, JJ., Concur.
